          USCA Case #24-1113       Document #2068096
                               UNITED STATES COURT OF Filed: 08/02/2024
                                                       APPEALS                                     Page 1 of 4

                                DISTRICT OF COLUMBIA CIRCUIT
                                             333 Constitution Avenue, NW
                                              Washington, DC 20001-2866
                                     Phone: 202-216-7000 | Facsimile: 202-219-8530



 Case Caption: TikTok Inc. and ByteDance Ltd.

                                           v.                               Case No: 24-1113, 24-1130, 24-1183
                    Garland


                                            ENTRY OF APPEARANCE

The Clerk shall enter my appearance as            Retained       Pro Bono     Appointed (CJA/FPD)          Gov't counsel
for the     Appellant(s)/Petitioner(s)     Appellee(s)/Respondent(s)          Intervenor(s)     Amicus Curiae below:

                                                   Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)

 Representative John R. Moolenaar                                 Representative Steve Scalise

 Representative Raja Krishnamoorthi                               Representative Nancy Pelosi

 Representative Cathy McMorris Rodgers                            Representative Jake Auchincloss

 Representative Frank Pallone                                     Representative Andy Barr (cont.)

                                                  Counsel Information
Lead Counsel: Thomas M. Johnson, Jr.

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                                                                     Email: jnolette@wiley.law
Direct Phone: ( 202 )     719-7000       Fax: (      )       -

Firm Name:       Wiley Rein LLP

Firm Address: 2050 M Street NW, Washington, D.C. 20036

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Firm Phone: ( 202 ) 719-7000 Fax: (                  )

Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
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               UNITED STATES COURT OF APPEALS
                 DISTRICT OF COLUMBIA CIRCUIT
                      333 Constitution Avenue, NW
                       Washington, DC 20001-2866
              Phone: 202-216-7000 | Facsimile: 202-219-8530
           _____________________________________________________
                        ENTRY OF APPEARANCE
                         Party Information (cont.)

                       Representative Shontel M. Brown

                     Representative Larry Bucshon, M.D.

                         Representative Kat Cammack

                         Representative André Carson

                     Representative Earl L. “Buddy” Carter

                         Representative Kathy Castor

                           Representative Ben Cline

                         Representative Dan Crenshaw

                          Representative John Curtis

                        Representative Donald G. Davis

                         Representative Chris Deluzio

                          Representative Jeff Duncan

                      Representative Neal P. Dunn, M.D.

                        Representative Anna G. Eshoo

                        Representative Carlos Giménez

                        Representative Josh Gottheimer
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                     Representative H. Morgan Griffith

                        Representative Brett Guthrie

                     Representative Diana Harshbarger

                       Representative Ashley Hinson

                         Representative John James

                       Representative Dusty Johnson

                       Representative Darin LaHood

                       Representative Robert E. Latta

                     Representative Blaine Luetkemeyer

                      Representative Jared Moskowitz

                        Representative Seth Moulton

                       Representative Dan Newhouse

                         Representative Greg Pence

                       Representative August Pfluger

                       Representative Brad Sherman

                       Representative Mikie Sherrill

                       Representative Elissa Slotkin

                     Representative Michelle Park Steel

                       Representative Elise Stefanik
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                     Representative Haley M. Stevens

                      Representative Thomas Suozzi

                      Representative Ritchie Torres

                       Representative Tim Walberg

                      Representative Randy Weber

                       Representative Rob Wittman

                          Senator Marco Rubio

                        Senator Marsha Blackburn

                          Senator John Cornyn

                           Senator Tom Cotton

                          Senator Josh Hawley

                          Senator Pete Ricketts

                         Senator James E. Risch

                          Senator Mike Rounds
